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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

ELIZABETH KINKLE, WENDY
KRUSZEWSKI, LINDA KUSZAJ, DEVIK
LAW, JERINE LAWLER, DENITTA               C.A. No.
LAWSON, RANDY LEAKS, CALVIN LEE,
WILLIE LEE, JAMES DOUGLAS LOTT
JR., RAYMOND LUCERO, MARIO
LUNGELOW, ANGELA MATHISON,
KATHY J. MCCAULLEY, LINDA D.
MCKEE, GERARD MCMILLAN, SHARON
G. MEADE, LISA MELFI, JAMES
MIDGETTE, TRYPHENA MONDS,
KEISHA MONTGOMERY, CARRIE A.
MOORE, EARLINE MOORE, ROBIN
MOORE, SUSAN MORENO, DANA L.
MOSCHELLA, CLAYTON MOUNTS,
KEITH MURPHY, BRENDA L. MYERS,
DARLENE NEWMAN, JOSHUA P.
NEWMAN, ANTHONY NICHOLAS, JOHN
NOLES, MICHAEL J. ONORATO, JOHN
D. ORCUTT, CARRIE OSTENSON,
PAULA OYOLA, MAETAJIA PEOPLES,
FRANCES PHILLIPS, MONICA PHIPPS,
JOSH PIASECKI, DEBRA D. PINION,
MEGAN PINNELL, LISA PINTO, SAM
PONCE, DARLENE POWELL, DUSTY
PRICE, LINDA PROSKA, DEBBIE
PYATOK, JASON REITHER, RICARDO
RESTO, JOSHUA ROBERDS, MARILYN
ROBINSON, WILMA R. ROBINSON
SCOTT, STEPHANIE ROGERS, JOHN
ROHRMAN, FRANKIE RUDOLPH, ERIC
RUFFIN, JOAN RUNGE, VINCENT
SANDERS, ANTHONY SANTEYAN,
JENNIFER DAWN SAUNDERS, FABIAN
RAY SCOTT, JESUS AYON SEOANE,
TAYLOR SHARP, ASHLEY L. SHINN,
DAWN E. SIEWERT, ANTHONY SIMON,
CAROLYN B. SINCLAIR, AAMINAH
NICOLE SMITH, LINDA A. SMITH,
MICHAEL SMITH, STEVEN SMITH,
VALERIE R. SNYDER, and CLARA SOSA

                Plaintiffs,
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v.

BRISTOL-MYERS SQUIBB COMPANY,
OTSUKA AMERICA
PHARMACEUTICAL, INC., and OTSUKA
PHARMACEUTICAL CO., LTD.,

                  Defendants.




______________________________________________________________________________

                         COMPLAINT FOR DAMAGES
                        AND DEMAND FOR JURY TRIAL



      Plaintiffs, ELIZABETH KINKLE, WENDY KRUSZEWSKI, LINDA KUSZAJ, DEVIK

LAW, JERINE LAWLER, DENITTA LAWSON, RANDY LEAKS, CALVIN LEE, WILLIE

LEE, JAMES DOUGLAS LOTT JR., RAYMOND LUCERO, MARIO LUNGELOW,

ANGELA MATHISON, KATHY J. MCCAULLEY, LINDA D. MCKEE, GERARD

MCMILLAN, SHARON G. MEADE, LISA MELFI, JAMES MIDGETTE, TRYPHENA

MONDS, KEISHA MONTGOMERY, CARRIE A. MOORE, EARLINE MOORE, ROBIN

MOORE, SUSAN MORENO, DANA L. MOSCHELLA, CLAYTON MOUNTS, KEITH

MURPHY, BRENDA L. MYERS, DARLENE NEWMAN, JOSHUA P. NEWMAN,

ANTHONY NICHOLAS, JOHN NOLES, MICHAEL J. ONORATO, JOHN D. ORCUTT,

CARRIE OSTENSON, PAULA OYOLA, MAETAJIA PEOPLES, FRANCES PHILLIPS,

MONICA PHIPPS, JOSH PIASECKI, DEBRA D. PINION, MEGAN PINNELL, LISA PINTO,


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SAM PONCE, DARLENE POWELL, DUSTY PRICE, LINDA PROSKA, DEBBIE PYATOK,

JASON REITHER, RICARDO RESTO, JOSHUA ROBERDS, MARILYN ROBINSON,

WILMA R. ROBINSON SCOTT, STEPHANIE ROGERS, JOHN ROHRMAN, FRANKIE

RUDOLPH,       ERIC    RUFFIN,       JOAN    RUNGE,      VINCENT       SANDERS,   ANTHONY

SANTEYAN, JENNIFER DAWN SAUNDERS, FABIAN RAY SCOTT, JESUS AYON

SEOANE, TAYLOR SHARP, ASHLEY L. SHINN, DAWN E. SIEWERT, ANTHONY

SIMON, CAROLYN B. SINCLAIR, AAMINAH NICOLE SMITH, LINDA A. SMITH,

MICHAEL SMITH, STEVEN SMITH, VALERIE R. SNYDER, and CLARA SOSA, by and

through their undersigned counsel, hereby file this Complaint, and make these allegations based

on information and belief against Defendants, BRISTOL-MYERS SQUIBB COMPANY,

OTSUKA AMERICA PHARMACEUTICAL, INC., and OTSUKA PHARMACEUTICAL CO.,

LTD. (collectively “ Defendants”):




                                       INTRODUCTION
 

       1.      This is an action for damages related to Defendants’ wrongful conduct in

connection with the development, design, testing, labeling, packaging, promoting, advertising,

marketing, distribution, and selling of Defendants’ prescription drug(s) Abilify®, Abilify

Maintena®, and Aristada® (hereinafter “Abilify”).

       2.      Defendants manufacture, promote, and sell Abilify as a prescription drug that

treats schizophrenia, depression, bipolar I disorder, irritability associated with autism in

adolescents and Tourette’s Disorder. Abilify is manufactured as tablets, oral solution, and

injection. Tens of thousands of individuals are prescribed Abilify each year.

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         3.    Abilify injured Plaintiffs by causing harmful compulsive behaviors including

compulsive gambling, compulsive shopping and hyper-sexuality. These compulsive behaviors

resulted in substantial financial, mental, and physical damages.

         4.    Defendants knew or should have known that Abilify, when taken as prescribed

and intended, causes and contributes to an increased risk of serious and dangerous side effects

including, without limitation, uncontrollable compulsive behaviors such as compulsive

gambling.

         5.    Defendants’ labeling in the United States, Europe and Canada now warn about the

risk of pathological gambling and other compulsive behaviors.

         6.    Defendants did not warn, advise, educate, or otherwise inform Abilify users or

prescribers in the United States about the risk of compulsive gambling or other compulsive

behaviors. Prior to January 2016, the U.S. label made no mention of pathological gambling or

compulsive behaviors whatsoever. In January 2016, Defendants simply added “pathological

gambling” to the postmarketing experience section of the U.S. label. Defendants did not,

however, make any mention of gambling or compulsive behaviors in the patient medication

guide, the source of information most likely viewed by physicians and patients.

         7.    On May 3, 2016, the FDA announced that warnings regarding “compulsive or

uncontrollable urges to gamble, binge eat, shop, and have sex” would be added to the Abilify

label.    In August 2016, warnings regarding compulsive gambling and other compulsive

behaviors were added to the Abilify label, informing patients and physicians for the first time

about these horrific and life-altering side effects. The label now warns that “[b]ecause patients

may not recognize these behaviors as abnormal, it is important for prescribers to ask patients or

their caregivers specifically about the development of new or intense gambling urges,


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compulsive sexual urges, compulsive shopping, binge or compulsive eating, or other urges while

being treated with aripiprazole….Compulsive behaviors may result in harm to the patient and

others if not recognized. Consider dose reduction or stopping the medication if a patient develops

such urges.”

       8.      Because of Defendants’ actions and inactions, Plaintiffs were injured and suffered

damages from their use of Abilify.

                                 JURISDICTION AND VENUE
 

       9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 (a)(1) in

that this action seeks monetary relief in excess of $75,000.00, exclusive of interest, costs and

attorney's fees, and is between citizens of different States.

       10.     This Court has jurisdiction over Defendants as they are either Delaware

corporations or subject to jurisdiction pursuant to and 10 Del. C. § 3104.

       11.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3) because two of

the Defendants reside in this judicial district and all are engaged in substantial, systematic and

continuous business contacts with this judicial district such that they are all subject to personal

jurisdiction here.

                                          THE PARTIES

                                              Plaintiffs
 

       12.     Plaintiff ELIZABETH KINKLE is a resident of Sparks, Nevada, and was

prescribed Abilify in Nevada. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. ELIZABETH KINKLE has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.


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       13.     Plaintiff WENDY KRUSZEWSKI is a resident of Lakewood, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. WENDY KRUSZEWSKI has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       14.     Plaintiff LINDA KUSZAJ is a resident of East Hartford, Connecticut, and was

prescribed Abilify in Connecticut. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. LINDA KUSZAJ has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       15.     Plaintiff DEVIK LAW is a resident of Montgomery, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. DEVIK LAW has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       16.     Plaintiff JERINE LAWLER is a resident of Kent, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JERINE LAWLER has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       17.     Plaintiff DENITTA LAWSON is a resident of Oklahoma City, Oklahoma, and

was prescribed Abilify in Oklahoma. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. DENITTA LAWSON has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       18.     Plaintiff RANDY LEAKS is a resident of Thomasville, Georgia, and was

prescribed Abilify in Georgia. Abilify was developed, RANDY LEAKS has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.


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       19.     Plaintiff CALVIN LEE is a resident of Philadelphia, Pennsylvania, and was

prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. CALVIN LEE has suffered damages as a result

of Defendants’ illegal and wrongful conduct alleged herein.

       20.     Plaintiff WILLIE LEE is a resident of Portland, Oregon, and was prescribed

Abilify in Oregon. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. WILLIE LEE has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       21.     Plaintiff JAMES DOUGLAS LOTT JR. is a resident of Portland, Oregon, and

was prescribed Abilify in Oregon. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JAMES DOUGLAS LOTT JR. has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       22.     Plaintiff RAYMOND LUCERO is a resident of Beaverton, Oregon, and was

prescribed Abilify in Oregon. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. RAYMOND LUCERO has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       23.     Plaintiff MARIO LUNGELOW is a resident of Cincinnati, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. MARIO LUNGELOW has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       24.     Plaintiff ANGELA MATHISON is a resident of Twin Falls, Idaho, and was

prescribed Abilify in Idaho. Abilify was developed, manufactured, promoted, marketed,




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packaged, distributed, and sold by Defendants. ANGELA MATHISON has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       25.     Plaintiff KATHY J. MCCAULLEY is a resident of Huntsville, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. KATHY J. MCCAULLEY has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       26.     Plaintiff LINDA D. MCKEE is a resident of Sheffield Lake, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. LINDA D. MCKEE has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       27.     Plaintiff GERARD MCMILLAN is a resident of Falls Church, Virginia, and was

prescribed Abilify in Virginia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. GERARD MCMILLAN has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       28.     Plaintiff SHARON G. MEADE is a resident of New Castle, Indiana, and was

prescribed Abilify in Indiana. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. SHARON G. MEADE has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       29.     Plaintiff LISA MELFI is a resident of Grove City, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. LISA MELFI has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.




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       30.     Plaintiff JAMES MIDGETTE is a resident of Cleveland, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JAMES MIDGETTE has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       31.     Plaintiff TRYPHENA MONDS is a resident of Decatur, Georgia, and was

prescribed Abilify in Georgia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. TRYPHENA MONDS has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       32.     Plaintiff KEISHA MONTGOMERY is a resident of Evansdale, Iowa, and was

prescribed Abilify in Iowa. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. KEISHA MONTGOMERY has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       33.     Plaintiff CARRIE A. MOORE is a resident of Hobart, Indiana, and was

prescribed Abilify in Indiana. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. CARRIE A. MOORE has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       34.     Plaintiff EARLINE MOORE is a resident of Kansas City, Kansas, and was

prescribed Abilify in Kansas. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. EARLINE MOORE has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       35.     Plaintiff ROBIN MOORE is a resident of Napoleon, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,




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distributed, and sold by Defendants. ROBIN MOORE has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       36.     Plaintiff SUSAN MORENO is a resident of Calumet Park, Illinois, and was

prescribed Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. SUSAN MORENO has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       37.     Plaintiff DANA L. MOSCHELLA is a resident of Shinnston, West Virginia, and

was prescribed Abilify in West Virginia. Abilify was developed, manufactured, promoted,

marketed, packaged, distributed, and sold by Defendants. DANA L. MOSCHELLA has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       38.     Plaintiff CLAYTON MOUNTS is a resident of Middletown, Connecticut, and

was prescribed Abilify in Connecticut. Abilify was developed, manufactured, promoted,

marketed, packaged, distributed, and sold by Defendants. CLAYTON MOUNTS has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       39.     Plaintiff KEITH MURPHY is a resident of Virginia Beach, Virginia, and was

prescribed Abilify in Virginia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. KEITH MURPHY has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       40.     Plaintiff BRENDA L. MYERS is a resident of Monroeville, Pennsylvania, and

was prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted,

marketed, packaged, distributed, and sold by Defendants. BRENDA L. MYERS has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.




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       41.     Plaintiff DARLENE NEWMAN is a resident of McSherrystown, Pennsylvania,

and was prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted,

marketed, packaged, distributed, and sold by Defendants. DARLENE NEWMAN has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       42.     Plaintiff JOSHUA P. NEWMAN is a resident of Las Vegas, Nevada, and was

prescribed Abilify in Nevada. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JOSHUA P. NEWMAN has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       43.     Plaintiff ANTHONY NICHOLAS is a resident of Hazelton, Pennsylvania, and

was prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted,

marketed, packaged, distributed, and sold by Defendants. ANTHONY NICHOLAS has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       44.     Plaintiff JOHN NOLES is a resident of Cleveland, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JOHN NOLES has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       45.     Plaintiff MICHAEL J. ONORATO is a resident of Chicago, Illinois, and was

prescribed Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. MICHAEL J. ONORATO has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       46.     Plaintiff JOHN D. ORCUTT is a resident of Skiatook, Oklahoma, and was

prescribed Abilify in Oklahoma. Abilify was developed, manufactured, promoted, marketed,




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packaged, distributed, and sold by Defendants. JOHN D. ORCUTT has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       47.     Plaintiff CARRIE OSTENSEN is a resident of Henderson, Nevada, and was

prescribed Abilify in Nevada. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. CARRIE OSTENSEN has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       48.     Plaintiff PAULA OYOLA is a resident of Middletown, Connecticut, and was

prescribed Abilify in Connecticut. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. PAULA OYOLA has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       49.     Plaintiff MAETAJIA PEOPLES is a resident of Chicago, Illinois, and was

prescribed Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. MAETAJIA PEOPLES has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       50.     Plaintiff FRANCES PHILLIPS is a resident of Shawnee, Oklahoma, and was

prescribed Abilify in Oklahoma. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. FRANCES PHILLIPS has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       51.     Plaintiff MONICA PHIPPS is a resident of Des Moines, Iowa, and was prescribed

Abilify in Iowa. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. MONICA PHIPPS has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.




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       52.     Plaintiff JOSH PIASECKI is a resident of Parma, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JOSH PIASECKI has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       53.     Plaintiff DEBRA D. PINION is a resident of Fayette, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. DEBRA D. PINION has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       54.     Plaintiff MEGAN PINNELL is a resident of Salem, Oregon, and was prescribed

Abilify in Oregon. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. MEGAN PINNELL has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       55.     Plaintiff LISA PINTO is a resident of West Warwick, Rhode Island, and was

prescribed Abilify in Rhode Island. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. LISA PINTO has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       56.     Plaintiff SAM PONCE is a resident of Las Vegas, Nevada, and was prescribed

Abilify in Nevada. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. SAM PONCE has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       57.     Plaintiff DARLENE POWELL is a resident of Goshen, Indiana, and was

prescribed Abilify in Indiana. Abilify was developed, manufactured, promoted, marketed,




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packaged, distributed, and sold by Defendants. DARLENE POWELL has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       58.     Plaintiff DUSTY PRICE is a resident of Shelbyville, Indiana, and was prescribed

Abilify in Indiana. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. DUSTY PRICE has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       59.     Plaintiff LINDA PROSKA is a resident of Collingdale, Pennsylvania, and was

prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. LINDA PROSKA has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       60.     Plaintiff DEBBIE PYATOK is a resident of Aurora, Colorado, and was

prescribed Abilify in Colorado. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. DEBBIE PYATOK has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       61.     Plaintiff JASON REITHER is a resident of Mesquite, Nevada, and was prescribed

Abilify in Nevada. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JASON REITHER has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       62.     Plaintiff RICARDO RESTO is a resident of Bethlehem, Pennsylvania, and was

prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. RICARDO RESTO has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.




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       63.     Plaintiff JOSHUA ROBERDS is a resident of Hillsboro, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JOSHUA ROBERDS has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       64.     Plaintiff MARILYN ROBINSON is a resident of Frisco City, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. MARILYN ROBINSON has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       65.     Plaintiff WILMA R. ROBINSON SCOTT is a resident of Dayton, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. WILMA R. ROBINSON SCOTT has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       66.     Plaintiff STEPHANIE ROGERS is a resident of Apache Junction, Arizona, and

was prescribed Abilify in Arizona. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. STEPHANIE ROGERS has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       67.     Plaintiff JOHN ROHRMAN is a resident of Boise, Idaho, and was prescribed

Abilify in Idaho. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JOHN ROHRMAN has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       68.     Plaintiff FRANKIE RUDOLPH is a resident of Montgomery, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,




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packaged, distributed, and sold by Defendants. FRANKIE RUDOLPH has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       69.     Plaintiff ERIC RUFFIN is a resident of Chicago, Illinois, and was prescribed

Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. ERIC RUFFIN has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       70.     Plaintiff JOAN RUNGE is a resident of Cullman, Alabama, and was prescribed

Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. JOAN RUNGE has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       71.     Plaintiff VINCENT SANDERS is a resident of Warner Robins, Georgia, and was

prescribed Abilify in Georgia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. VINCENT SANDERS has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       72.     Plaintiff ANTHONY SANTEYAN is a resident of Tucson, Arizona, and was

prescribed Abilify in Arizona. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. ANTHONY SANTEYAN has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       73.     Plaintiff JENNIFER DAWN SAUNDERS is a resident of Roanoke, Virginia, and

was prescribed Abilify in Virginia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JENNIFER DAWN SAUNDERS has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.




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       74.     Plaintiff FABIAN RAY SCOTT is a resident of Macon, Georgia, and was

prescribed Abilify in Georgia. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. FABIAN RAY SCOTT has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       75.     Plaintiff JESUS AYON SEOANE is a resident of Saint Paul, Minnesota, and was

prescribed Abilify in Minnesota. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. JESUS AYON SEOANE has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       76.     Plaintiff TAYLOR SHARP is a resident of Fairview Heights, Illinois, and was

prescribed Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. TAYLOR SHARP has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       77.     Plaintiff ASHLEY L. SHINN is a resident of Geary, Oklahoma, and was

prescribed Abilify in Oklahoma. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. ASHLEY L. SHINN has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       78.     Plaintiff DAWN E. SIEWERT is a resident of Lehighton, Pennsylvania, and was

prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. DAWN E. SIEWERT has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       79.     Plaintiff ANTHONY SIMON is a resident of Dayton, Ohio, and was prescribed

Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed, packaged,




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distributed, and sold by Defendants. ANTHONY SIMON has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

       80.     Plaintiff CAROLYN B. SINCLAIR is a resident of Montgomery, Alabama, and

was prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. CAROLYN B. SINCLAIR has suffered damages

as a result of Defendants’ illegal and wrongful conduct alleged herein.

       81.     Plaintiff AAMINAH NICOLE SMITH is a resident of Cleveland, Ohio, and was

prescribed Abilify in Ohio. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. AAMINAH NICOLE SMITH has suffered

damages as a result of Defendants’ illegal and wrongful conduct alleged herein.

       82.     Plaintiff LINDA A. SMITH is a resident of Beech Grove, Indiana, and was

prescribed Abilify in Indiana. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. LINDA A. SMITH has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       83.     Plaintiff MICHAEL SMITH is a resident of Letohatchee, Alabama, and was

prescribed Abilify in Alabama. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. MICHAEL SMITH has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.

       84.     Plaintiff STEVEN SMITH is a resident of Philadelphia, Pennsylvania, and was

prescribed Abilify in Pennsylvania. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. STEVEN SMITH has suffered damages as a

result of Defendants’ illegal and wrongful conduct alleged herein.




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       85.     Plaintiff VALERIE R. SNYDER is a resident of Chicago, Illinois, and was

prescribed Abilify in Illinois. Abilify was developed, manufactured, promoted, marketed,

packaged, distributed, and sold by Defendants. VALERIE R. SNYDER has suffered damages as

a result of Defendants’ illegal and wrongful conduct alleged herein.

       86.     Plaintiff CLARA SOSA is a resident of Lawton, Oklahoma, and was prescribed

Abilify in Oklahoma. Abilify was developed, manufactured, promoted, marketed, packaged,

distributed, and sold by Defendants. CLARA SOSA has suffered damages as a result of

Defendants’ illegal and wrongful conduct alleged herein.

                                          Defendants

       87.     When reference is made in this Complaint to any act or omission of any of the

Defendants, it shall be deemed that the officers, directors, agents, employees, or representatives

of the Defendants committed or authorized such act or omission, or failed to adequately

supervise or properly control or direct their employees while engaged in the management,

direction, operation, or control of the affairs of Defendants, and did so while acting within the

scope of their duties, employment or agency.

       88.     The term “Defendant” or “Defendants” refers to all Defendants named herein

jointly and severally.

       89.     Upon information and belief, each of the Defendants are responsible, negligently,

intentionally, and/or in some actionable manner, for the events and happenings referred to herein,

and caused and continue to cause injuries and damages legally thereby to Plaintiffs, as alleged,

either through each Defendant’s own conduct or through the conduct of their agents, servants, or

employees, or due to the ownership, maintenance, or control of the instrumentality causing them

injury, or in some other actionable manner.


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       90.     Defendant Bristol-Myers Squibb Company (“Bristol-Myers”) is a corporation

organized and existing under the laws of Delaware, with its principal executive office at 345

Park Avenue, New York, New York. Bristol-Myers is in the business of researching, developing,

manufacturing, and selling pharmaceuticals. Bristol-Myers does business throughout the United

States, including in the state of Delaware.

       91.     Defendant Otsuka Pharmaceutical Co., Ltd. (“OPC”) is a Japanese company, with

its principal office at 2-9, Kanda Tsukasa-machi, Chiyoda-ku, Tokyo 101-8535, Japan, and has a

registered agent located at 351 West Camden Street, Baltimore, Maryland based upon

information filed with the Maryland Department of Assessments and Taxation Business

Services. Abilify is a trademark of Defendant Otsuka Pharmaceutical Co., Ltd. Defendant Otsuka

Pharmaceutical Co. Ltd. wholly owns Defendant Otsuka America, Inc. (“OAI”), a holding

company established in the United States in or around 1989. OAI is the parent of Defendant

Otsuka America Pharmaceutical, Inc. (“OAPI”), Otsuka Pharmaceutical Development &

Commercialization, Inc. (“OPDC”), and Otsuka Maryland Medicinal Laboratories, Inc.

(“OMML”). OPC and its subsidiaries/alter-egos are in the business of researching, developing,

manufacturing, and selling pharmaceuticals.

       92.     Defendant OAPI is incorporated in Delaware, with its principal place of business

at 508 Carnegie Center, Princeton, New Jersey. OAPI developed, distributed, and marketed

Abilify with OPC. OAPI does business throughout the United States, including in the state of

Delaware.

       93.     At all times relevant to this Complaint, Defendants OPC, OAI, OAPI, OPDC, and

OMML (the “Otsuka entities”) have operated in concert regarding the development, research,

distribution, manufacturing, and/or marketing of Abilify. OPC has control over its subsidiaries’


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daily affairs and operations with respect to Abilify. The Otsuka entities work in concert as a

single operation known as the Otsuka Group. At all times relevant herein, OAPI was the alter-

ego of OPC.

       94.     Defendant Bristol-Myers has operated in concert with the other Defendants and

jointly marketed, sold, and promoted Abilify in the United States with the Otsuka Group,

through Defendant OAPI and otherwise.

       95.     Defendants are collectively engaged in the development, design, testing, labeling,

packaging, promoting, advertising, marketing, distribution, and selling of pharmaceutical

products, including Abilify. OPC “discovered” Abilify in 1988, obtained approval in the United

States in November 2002, and in Japan in January 2006.

       96.     Defendants are and have been engaged in the business of researching, testing,

developing, manufacturing, packaging, distributing, licensing, labeling, promoting, marketing

and selling, either directly or indirectly through third parties or related entities, the

pharmaceutical drug Abilify, in all states and throughout the United States, including Delaware.

       97.     Defendants conducted, funded, supported, supervised, and contributed to

numerous studies and clinical trials about the efficacy, safety, tolerability, and side effect profile

of Abilify in Delaware. Hospitals and other healthcare facilities throughout the state of Delaware

were chosen and did act as sites for these studies and trials. Upon information and belief, this

includes, for example, the studies that formed the basis of the FDA’s decision to indicate Abilify

for adjunctive therapy in major depression.

       98.     Defendants placed Abilify into the stream of commerce with the intent it would

be marketed, advertised, and sold in all states and throughout the United States, including in

Delaware. Plaintiffs’ use of, and ultimately injury by, Abilify in Delaware and the various other


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States of the United States was not an isolated occurrence, but arose from the purposeful efforts

of Defendants to create and serve the market for Abilify in Delaware and various other States of

the United States by the marketing, advertising, soliciting purchases, and selling of Abilify in

those states.

                         FACTUAL ALLEGATIONS AS TO ALL COUNTS

             99.    Abilify was first introduced in the United States in or around the fall of 2002.

    Abilify is an atypical anti-psychotic prescription medicine discovered by Defendant Otsuka

    Pharmaceutical Co., Ltd.

             100.   In or around October or November 2012, the European Medicines Agency

    required Defendants to warn patients and the European medical community that Abilify use

    included the risk of pathological gambling.

             101.   In particular, the European Medicines Agency required the European labeling to

    carry the following language in the “Special Warnings and Precautions For Use” section of the

    label:

             Pathological Gambling
             Post-marketing reports of pathological gambling have been reported among

             patients prescribed ABILIFY, regardless of whether these patients had a prior

             history of gambling. Patients with a prior history of pathological gambling may be

             at increased risk and should be monitored carefully.

             102.   The European labeling for Abilify also carries additional language concerning

    adverse reactions that have been reported during post-marketing surveillance relating to

    gambling side effects. Under a section entitled “Undesirable effects,” it provides:

             Psychiatric Disorders: agitation, nervousness, pathological gambling, suicide

             attempt, suicidal ideation, and completed suicide.
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          103.     In or around November 2015, Canadian regulators concluded that there is “a link

    between the use of aripiprazole and a possible risk of pathological gambling or hypersexuality”

    and found an increased risk of pathological (uncontrollable) gambling and hypersexuality with

    Abilify use.

          104.     In or about November 2015, the following warning statement regarding the risk of

    pathological gambling was added to the Canadian prescribing information for Abilify:




          Pathological Gambling
          Post-marketing reports of pathological gambling have been reported in patients

          treated with ABILIFY. In relation to pathological gambling, patients with a prior

          history of gambling disorder may be at increased risk and should be monitored

          carefully.

          105.     Despite these warnings and advisories in Europe and Canada—for the same drug

    sold to patients in the United States—the labeling for Abilify in the United States did not

    adequately warn about the risk of compulsive gambling or other compulsive behaviors and

    contained no mention that pathological gambling and other compulsive behaviors had been

    reported in patients prescribed Abilify. It was not until January 2016, after the patent for Abilify

    expired in the United States, that pathological gambling was added only to the Postmarketing

    Experience section of the label; Defendants failed to make mention of gambling in the patient

    medication guide, a source of information likely viewed by physicians and patients. On May 3,

    2016, the FDA issued a warning that Abilify was associated with “compulsive or uncontrollable

    urges to gamble, binge eat, shop, and have sex.” The FDA recommended that doctors “make

    patients and caregivers aware of the risk of these uncontrollable urges,” “closely monitor”

    patients, and consider reducing or stopping Abilify if compulsivity emerges.
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          106.     The labeling for Abilify in the United States contained no mention of the word

    “gambling” until January 2016. It contained no warning about pathological gambling until

    August 2016.

          107.     Defendants wrongfully and unjustly profited at the expense of patient safety and

    full disclosure to the medical community by failing to include language about gambling in the

    United States labeling and by failing to otherwise warn the public and the medical community

    about Abilify’s association with gambling—despite opportunities and a duty to do so. As a

    result, Defendants have made significantly more revenue from Abilify sales in the United States

    compared to Europe.

          108.     Bristol-Myers touts Abilify as its “2013 largest-selling product” noting sales of

    $2.3 billion. Bristol-Myers recently reported U.S. revenues from Abilify sales of $417 million

    over three months ending June 30, 2014, and worldwide revenues of $555 million over the same

    time period.

          109.     Since its introduction to the United States market, Abilify has generally been used

    to treat patients with schizophrenia, bipolar disorder, as an adjunct for depression, and autism

    spectrum disorders.

          110.     In 2001, Defendant Otsuka Pharmaceutical Co., Ltd. submitted a New Drug

    Application (“NDA”) to the United States Food and Drug Administration (“FDA”) for Abilify

    (aripiprazole). This initial NDA sought approval to market Abilify in 2, 5, 10, 15, 20 and 30 mg

    tablets as a treatment for schizophrenia. The NDA was approved on November 15, 2002.

          111.     In November 2002, the FDA required Defendants to submit results of Study

    138047 to address the longer-term efficacy of Abilify in the treatment of adults with

    schizophrenia.


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           112.    On December 3, 2002, Defendant Otsuka America Pharmaceutical, Inc. submitted

    a Supplemental New Drug Application (NDA 21-436/S-001) on the longer-term efficacy of

    Abilify in the treatment of schizophrenia. This application was approved on August 28, 2003.

           113.    In June 2003, Otsuka Maryland Research Institute submitted another Supplemental

    New Drug Application (NDA 21-436/S-002) for Abilify tablets as a treatment for bipolar

    disorder. This application was approved on September 29, 2004.

           114.    In May 2007, Otsuka Pharmaceutical Development & Commercialization, Inc.

    submitted another Supplemental New Drug Application (NDA 21-436/S-018) for Abilify tablets

    as an adjunctive treatment for patients with major depressive disorder. This application was

    approved on November 16, 2007.

           115.    In contrast, in Europe, Abilify is not indicated to treat depression. The European

    Medicines Agency declined to approve Abilify as an add-on treatment for depression because of

    concerns about its efficacy for that indication.

           116.    In or around 1999, Bristol-Myers and Otsuka entered into an agreement to co-

    develop and “commercialize” Abilify (hereinafter referred to as “Defendants’ Marketing

    Agreement”). Under the terms of Defendants’ Marketing Agreement, Bristol-Myers was to market

    and promote Abilify in the United States and the European Union, in collaboration with Otsuka

    Pharmaceutical Co., Ltd., and under Otsuka Pharmaceutical Co., Ltd.’s trademark.

           117.    Defendants’ Marketing Agreement also provided that Bristol-Myers and Otsuka

    Pharmaceutical Co., Ltd. would collaborate to complete clinical studies for schizophrenia, and that

    Bristol-Myers would conduct additional studies for new dosage forms and new indications.




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           118.    Bristol-Myers began co-promoting Abilify with Otsuka Pharmaceutical Co., Ltd. in

    the United States and Puerto Rico in or around November 2002. Defendants’ Marketing

    Agreement was extended in or around 2009.

           119.    Bristol-Myers’ Marketing Agreement with Otsuka had been due to expire in or

    around April 2015, just after the predicted expiration of Abilify’s patent protection in the United

    States. According to a revised marketing agreement, Bristol-Myers purported to no longer

    market and promote Abilify as of January 1, 2013, but agreed to continue to carry out its other

    responsibilities, including manufacturing for sale to third-party customers. Nevertheless,

    Bristol-Myers continued to market and promote Abilify, for example, through its website,

    through September 2015.

           120.    Defendants knew or should have known that Abilify can cause compulsive

    behaviors like gambling. Despite their significant collective resources, and signals that Abilify

    is associated with compulsive behaviors such as gambling and other compulsive behaviors,

    Defendants failed to fully and adequately test, research or investigate Abilify and its association

    with compulsive behaviors to the detriment of Plaintiffs, Abilify users, the public, the medical

    community, and prescribing doctors.

           121.    Medical providers and patients were unaware of the association between compulsive

    behaviors like gambling and Abilify. They could not have reasonably known or learned through

    reasonable diligence of the association.

           122.    Compulsive gambling is a major psychiatric disorder. The American

    Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders (“DSM”)

    first recognized pathological gambling as a psychiatric disorder in 1980.




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          123.    Originally, the disorder was classified as an impulse control disorder. The current

    version of the DSM, the DSM-V, renamed pathological gambling as “gambling disorder.”

    DSM-V reclassified gambling disorder under the category Substance-Related and Addictive

    Disorders in order to reflect evidence that gambling behaviors activate or are activated by

    reward systems similar to those activated by drugs of abuse, and produce some behavioral

    symptoms comparable to those produced by substance abuse disorders.

          124.    Abilify is variably a partial and full dopamine agonist. Dopamine is a

    neurotransmitter that helps control the brain’s reward and pleasure centers.

          125.    Dopamine’s role in compulsive behavior and pathological gambling is well-

    known. Dopaminergic reward pathways have frequently been implicated in the etiology of

    addictive behavior. Scientific literature has identified dopamine as a potential cause of

    pathological gambling for years.

          126.    Abilify’s dopaminergic activity at the mesolimbic circuit, especially at the

    nucleus accumbens, has been associated with compulsive behavior in Abilify patients.

          127.    Defendants acknowledged that Abilify was a plausible mechanism for

    pathological gambling in their September 2011 6-Month Periodic Safety Update Report. The

    Report states that an article, Chau et al., The Neural Circuitry of Reward and Its Relevance to

    Psychiatric Disorders, “does suggest a possible mechanism by which drugs that act on

    dopamine neurons, like aripiprazole, might possibly have some effect on behavior related to

    reward.”

          128.    Defendants’ September 2011 6-Month Periodic Safety Update Report submitted to

    the European Medicines Agency acknowledged seven serious reports of pathological gambling,




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    three in the medical literature and four spontaneous reports. The report also noted sixteen cases of

    pathological gambling in the Bristol-Myers company safety database.

          129.      The Medical Assessment of the pathological gambling cases in Defendants’

    September 2011 6-Month Periodic Safety Update Report did not exclude Abilify as the cause of

    the compulsive gambling adverse events. Defendants concluded that “a causal role of aripiprazole

    could not be excluded” and that “aripiprazole was suggested by the temporal relationship.”

          130.      The European Final Assessment Report of the September 2011 6-Month Periodic

    Safety Update Report concluded that with regard to compulsive gambling “in all of the reported

    cases we have a (+) temporal; (+) dechallenge and in one case a (+) rechallenge.”

          131.      Numerous case reports have been published in the medical literature linking

    Abilify to compulsive behavior, including at least seventeen cases of compulsive gambling.

    Gaboriau et al. examined case reports of compulsive gambling and found that the probability

    that pathological gambling was actually due to Abilify was “possible” in sixteen of the cases

    and “doubtful” in only one of the cases.

          132.      Several case reports demonstrate what is known as a challenge, de-challenge, and

    re-challenge.

          133.      Challenge is the administration of a suspect product by any route.

          134.      De-challenge is the withdrawal of the suspected product from the patient’s

    therapeutic regime. A positive de-challenge is the partial or complete disappearance of an

    adverse experience after withdrawal of the suspect product. For example, a positive de-

    challenge occurs when a patient ceases use of Abilify and pathological gambling behaviors

    cease concurrently.




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           135.    Re-challenge is defined as a reintroduction of a product suspected of having

    caused an adverse experience following a positive de-challenge. A positive re-challenge occurs

    when similar signs and symptoms reoccur upon reintroduction of the suspect product. For

    example, a positive re-challenge occurs when a patient reintroduces Abilify into her treatment

    regime and pathological gambling behavior reoccurs in a similar manner as such behaviors had

    existed when the patient previously used Abilify.

           136.    A positive de-challenge is considered evidence that a drug caused a particular

    effect, as is a positive re-challenge.

           137.    From May 1, 2008 to May 1, 2011, the FDA received thousands of serious

adverse event reports concerning Abilify (n=4599), including over two-thousand serious adverse

drug experiences of which 193 involved children (0-16 years old).

           138.    Serious adverse events are drug experiences including the outcomes of death, life-

threatening events, hospitalization, disability, congenital abnormality, and other harmful medical

events.

           139.    From 2005 to 2013, an FDA report showed that Abilify accounted for at least

fifty-four reports of compulsive or impulsive behavior problems, including thirty reports of

compulsive gambling, twelve reports of impulsive behavior, nine reports of hypersexuality, and

three reports of compulsive shopping.

           140.    A disproportionality study of the FDA Adverse Event Reporting System showed a

proportional reporting ratio for compulsivity of 8.6 for Abilify. A ratio of more than three

indicates a signal of an adverse event.

           141.    An analysis of the FDA Adverse Event Reporting System shows an escalating

number of reports. Twenty-nine reports of gambling behavior were made to the FDA in 2014.


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        142.   The 2014 FDA Adverse Event Reporting System data shows a proportional

reporting ratio for compulsive gambling of 64.3 for Abilify. The same data demonstrates Abilify

is unique in this regard and compulsive gambling is not a class-wide problem among anti-

psychotic medications.

        143.   Defendants have not adequately studied Abilify. A review of all the randomized

clinical trials comparing Abilify to other schizophrenia drugs concluded that the information on

comparisons was of limited quality, incomplete, and problematic to apply clinically.

        144.   Despite evidence that Abilify causes compulsive behaviors like pathological

gambling and calls from the medical community to conduct further research and warn patients

about this possible effect of Abilify, Defendants have either failed to investigate or conduct any

studies on the compulsive behavior side effects of Abilify or failed to make public the results of

any studies or investigations that they might have done.

        145.   Abilify is not very efficacious. According to a rigorous study by the Cochrane

Collaboration, there is limited evidence that Abilify leads to symptom reduction when added to

antidepressants, and side effects are more frequent under Abilify augmentation treatment.

        146.   The Drug Facts Box for Abilify for major depression includes a “summary” of the

combined data from the two identical six-week randomized trials that were the basis for FDA

drug approval for this indication. The box shows that Abilify has only a modest benefit: on

average, patients on Abilify improved by 3 points more (on a scale of 60) than patients on

placebo, and only an additional 11% of patients had a clinically important response as defined in

the trial.

        147.   Despite the risks of serious adverse events, and the lack of adequate testing,

Defendants aggressively promoted Abilify, including illegal promotion for off-label use. In 2007,


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Bristol-Myers reportedly paid $515 million to settle federal and state investigations into off-label

marketing of Abilify for pediatric use and to treat dementia-related psychosis. Otsuka America

Pharmaceutical, Inc. later paid more than $4 million to resolve the allegations.

       148.    The FDA issued a letter dated April 17, 2015 finding Abilify promotional

material “false or misleading because it makes misleading claims and presentations about the

drug.” The FDA found the material “misleading because it implies that Abilify offers advantages

over other currently approved treatments for bipolar disorder or MDD when this has not been

demonstrated.” The FDA also found the cited references “not sufficient to support claims and

presentations suggesting that Abilify has been demonstrated to modulate dopaminergic and

serotonergic activity, or modulate neuronal activity in both hypoactive and hyperactive

environments in humans.

       149.    Upon information and belief, Defendants have invested millions of dollars in

teams of pharmaceutical sales representatives who visit and contact members of the medical

community, including prescribing doctors, purporting to “educate” them about Abilify. Upon

information and belief, these pharmaceutical sales representatives have not notified patients, the

medical community, or prescribers in the United States that Abilify causes, is linked to, or might

be associated with compulsive gambling, pathological gambling, or gambling addiction.

       150.    Defendants have also been accused of instructing representatives speaking about

Abilify on their behalf pursuant to consultant contracts to deliberately lie to and/or mislead their

audiences. For example, celebrity author, bipolar patient, and former Abilify patient

spokesperson Andy Behrman alleged in an interview published by the Wall Street Journal that

Defendant Bristol-Myers’ employees instructed him to tell audiences that he was on Abilify

monotherapy and had no experienced any side effects, despite both of these claims being false.


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Upon information and belief, Defendants pursued these types of practices with other paid

spokespeople as well, in an effort to overstate the efficacy and downplay the major safety issues

of Abilify.

       151.     Defendants have invested millions of dollars in “Direct to Consumer”

advertising. None of the advertising in the United States notifies patients, the medical

community, or prescribers that Abilify use causes, is linked to, or might be associated with

compulsive gambling, pathological gambling, or gambling addiction.


       152.     Defendants’ Direct to Consumer advertising minimizes risks while over-

promoting the drug.

       153.     As a result of Defendants’ misleading promotional campaigns, Abilify has

occupied the top sales position for a prescription drug in the United States (but has only ever

reached seventh place in the global ranking of drug sales).

       154.     Defendants have made payments to doctors to promote Abilify. From August

2013 to December 2014, $10.6 million in payments relating to Abilify were made to 21,155

physicians in the United States.

       155.     To date, Defendants have not adequately notified or warned patients, the medical

community, or prescribers in the United States that Abilify causes, is linked to, and is associated

with compulsive gambling, pathological gambling, or gambling addiction.

       156.     Prior to May 2016, upon information and belief, Defendants had not sent out any

“Dear Doctor” letters to inform the medical community of the risk or association of Abilify use

and gambling.

       157.     The labeling for Abilify in the United States lists serious side effects that have

been reported with Abilify, but did not list gambling, pathological or otherwise in any form until
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January 2016 when it was only added to the post-marketing experience section of the label. Prior

to May 2016, the label did not mention compulsive behaviors other than pathological gambling or

adequately warn patients about the risk of compulsive gambling. Defendants also did not make

any mention of gambling in the patient medication guide, the source of information most likely

viewed by physicians and patients.

       158.    The labeling in the United States contradicts the labeling in Europe and Canada

by not providing adequate warnings and not cautioning that patients should be closely

monitored, and does not adequately inform patients and physicians that gambling and other

compulsive behaviors have been associated with Abilify use.

       159.    Defendant Otsuka America Pharmaceutical, Inc. maintains a website promoting

Abilify, www.abilify.com. The website includes, among other information, “tips for taking

Abilify,” links to “a 30-day free trial & savings on refills,” and “important safety information” for

Abilify. Although it has sections about “important safety information,” nowhere on the website

did it mention the word “gambling” prior to 2015.

       160.    Also, Defendant Otsuka America Pharmaceutical, Inc. operated another website

promoting Abilify, www.addabilify.com. Prior to 2015, this website included, among other

information, “important safety information,” “tips for family and friends,” “treatment FAQs,”

“side effects FAQs,” and “what your doctor needs to know” concerning Abilify. Nowhere on

the website did it mention the word “gambling.”

       161.    Defendant Bristol-Myers previously promoted Abilify on its own website,

www.bms.com (“BMS website”), noting it was approved in November 2002 and is “jointly

marketed in the U.S. by Bristol-Myers Squibb and Otsuka America Pharmaceutical.” The BMS




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website also included a link to the www.abilify.com website. Nowhere on the BMS website did

it mention the word “gambling.”

       162.    Likewise, Defendant Otsuka Pharmaceutical Co., Ltd. promotes Abilify on its

own website, www.otsuka.co.jp/en/ (“Otsuka website”), noting it was “researched and developed

by Otsuka Pharmaceutical” and “launched” in the United States in 2002. Nowhere on the Otsuka

website does it mention the word “gambling.”

       EQUITABLE TOLLING OF APPLICABLE STATUTES OF LIMITATIONS

       163.    Plaintiffs assert all applicable state statutory and common law rights and theories

related to the tolling or extension of any applicable statute of limitations, including the discovery

rule and/or fraudulent concealment.

       164.    The discovery rule should be applied to toll the running of the statute of

limitations until the Plaintiffs discovered or reasonably should have discovered Plaintiffs’

injuries and the causal connection between the injuries and Defendants’ product.

       165.    Defendants are estopped from asserting a statute of limitations defense because all

Defendants fraudulently concealed from Plaintiffs the truth, quality and nature of Plaintiffs’

injuries and the connection between the injuries and Defendants’ tortious conduct. Defendants,

through their affirmative misrepresentations and omissions, actively concealed from Plaintiffs

and Plaintiffs’ prescribing physicians the true risks associated with Abilify.

       166.    Defendants were under a duty to disclose the true character, quality and nature of

the risks associated with use of Abilify as this was non-public information over which

Defendants had and continue to have exclusive control. Defendants knew that this information

was not available to Plaintiffs, Plaintiffs’ medical providers and/or health-care facilities. In




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addition, Defendants are estopped from relying on any statute of limitation because of their

intentional concealment of these facts.

       167.    Plaintiffs had no knowledge that Defendants were engaged in the wrongdoing

alleged herein. Because of the fraudulent acts of concealment of wrongdoing by Defendants,

Plaintiffs could not have reasonably discovered the wrongdoing at any time prior to 2016.

     AS AND FOR A FIRST CAUSE OF ACTION: STRICT LIABILITY – DESIGN,

                            MANUFACTURING AND WARNING

       168.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

       169.    Defendants had a duty to provide adequate warnings and instructions for Abilify,

to use reasonable care to design a product that is not unreasonably dangerous to users, and to

adequately test their product.

       170.    The Abilify supplied to Plaintiffs by Defendants was defective in design or

formulation in that, when it left the hands of the manufacturer or supplier, it was in an

unreasonably dangerous and a defective condition for its intended use and it posed a risk of

serious compulsive behaviors and harm to Plaintiffs and other consumers which could have been

reduced or avoided, inter alia, by the adoption of a feasible reasonable alternative design.

       171.    The Abilify supplied to Plaintiffs by Defendants was defective in design or

formulation in that, when it left the hands of the manufacturer or supplier, Abilify had not been

adequately tested, was in an unreasonably dangerous and a defective condition, and it posed a

risk of serious compulsive behaviors and harm to Plaintiffs and other consumers.




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       172.    Also, Abilify’s limited and unproven effectiveness did not outweigh the risks

posed by the drug. In light of the utility of the drug and the risk involved in its use, the design of

Abilify makes the product unreasonably dangerous.

       173.    The Abilify supplied to Plaintiffs by Defendants was defective due to inadequate

warnings or instructions concerning the true risks of its use.

       174.    Defendants, and each of them, knew and intended that Abilify would be used by

the ordinary purchaser or user without inspection for defects therein and without knowledge of

the hazards involved in such use.

       175.    Defendants knew or should have known through testing, scientific knowledge,

advances in the field or otherwise, that the product created a risk of serious compulsive behaviors

and harm, and was unreasonably dangerous to Plaintiffs and other consumers, about which

Defendants failed to warn.

       176.    The Abilify supplied to Plaintiffs by Defendants was defective, dangerous, and

had inadequate warnings or instructions at the time it was sold, and Defendants also acquired

additional knowledge and information confirming the defective and dangerous nature of Abilify.

Despite this knowledge and information, Defendants failed and neglected to issue adequate

warnings or post-sale warnings that Abilify causes serious compulsive behaviors and harm.

       177.    Defendants failed to provide adequate warnings to users, purchasers, or

prescribers of Abilify, including Plaintiffs and prescribing physicians, and instead continued to

sell Abilify in an unreasonably dangerous form without adequate warnings or instructions.

Defendants knew or should have known that members of the general public and the medical

community had no knowledge that Plaintiffs and other users of their product could experience

the injuries herein alleged. Defendants also knew or should have known that Plaintiffs and other


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users of their product would assume that said use was safe, and that no side effects were likely to

exist beyond those of which Defendants had warned.

        178.   By failing to adequately test and research compulsive behaviors and harms

associated with Abilify use, and by failing to provide appropriate warnings about Abilify use and

associations with compulsive behaviors such as gambling, patients and the medical community,

including prescribing doctors, were inadequately informed about the true risk-benefit profile of

Abilify and were not sufficiently aware that compulsive behaviors such as gambling might be

associated with Abilify use. As such, the medical community was not learned on the true risk-

benefit profile of Abilify. Nor were the medical community, patients, patients’ families, or

regulators appropriately informed that compulsive behaviors such as gambling might be a side

effect of Abilify use and should or could be reported as an adverse event.

        179.   As a direct and proximate result of Defendants’ conduct, including the inadequate

warnings, dilution or lack of information, lack of adequate testing and research, and the defective

and dangerous nature of Abilify, Plaintiffs suffered bodily injury and resulting pain and

suffering, disability, mental anguish, loss of capacity for the enjoyment of life, expense of

hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

money and other economic losses, and aggravation of previously existing conditions. The losses

are either permanent or continuing, and Plaintiffs will suffer the losses in the future.

    AS AND FOR A SECOND CAUSE OF ACTION: BREACH OF EXPRESS WARRANTY

        180.   Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

        181.   Defendants, who designed, tested, manufactured, packaged, supplied, distributed,

marketed, advertised, promoted, recommended, and sold Abilify, expressly warranted to


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physicians and consumers, including Plaintiffs and Plaintiffs’ physicians, that Abilify was safe

and well-tolerated.

        182.    At the time of making the aforementioned express warranties, Defendants had

knowledge of the purpose for which Abilify was to be used, and warranted the same to be in all

respects fit, safe, effective, and proper for such purpose. Abilify was unaccompanied by

warnings of its dangerous propensities that were either known or should have been known to

Defendants at the time of distribution.

        183.    Abilify does not conform to these express representations because it is neither

safe nor well-tolerated. Instead, it significantly increases the risk of the patient engaging in

compulsive behaviors such as pathological gambling addiction, which causes monetary losses

and in turn can lead to financial ruin, job loss, familial devastation, and suicide attempts.

        184.    Plaintiffs and their prescribing physicians reasonably relied upon the skill and

judgment of Defendants, and upon the aforementioned express warranties, in using and

prescribing Abilify. The warranty and representations were untrue in that the product was unsafe,

and thus unsuited for the use for which it was intended.

        185.    As a direct and proximate result of the breach of Defendants’ warranties,

Plaintiffs suffered bodily injury and resulting pain and suffering, disability, mental anguish, loss

of capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and

treatment, loss of earnings, loss of ability to earn money and other economic losses, and

aggravation of previously existing conditions. The losses are either permanent or continuing, and

Plaintiffs will suffer the losses in the future.

    AS AND FOR A THIRD CAUSE OF ACTION: BREACH OF IMPLIED WARRANTY




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        186.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

        187.    At the time Defendants manufactured, packaged, marketed, sold, and distributed

Abilify, Defendants knew of the use for which Abilify was intended, and they impliedly

warranted Abilify to be of merchantable quality, safe and fit for such use.

        188.    Defendants knew, or had reason to know, that Plaintiffs and Plaintiffs’ physicians

would rely on the Defendants’ judgment and skill in providing Abilify for its intended use.

        189.    Plaintiffs and Plaintiffs’ physicians reasonably relied upon the skill and judgment

of Defendants as to whether Abilify was of merchantable quality, safe, and fit for its intended

use.

        190.    Contrary to such implied warranty, Abilify was not of merchantable quality or

safe or fit for its intended use, because the product was, and is, unreasonably dangerous,

defective and unfit for the ordinary purposes for which Abilify was used.

        191.    Also, Abilify’s limited and unproven effectiveness did not outweigh the risks

posed by the drug. In light of the utility of the drug and the risk involved in its use, the design of

Abilify makes the product unreasonably dangerous.

        192.    As a direct and proximate result of the breach of implied warranty, Plaintiffs

suffered bodily injury and resulting pain and suffering, disability, mental anguish, loss of

capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and

treatment, loss of earnings, loss of ability to earn money and other economic losses, and

aggravation of previously existing conditions. The losses are either permanent or continuing, and

Plaintiffs will suffer the losses in the future.

               AS AND FOR A FOURTH CAUSE OF ACTION: NEGLIGENCE


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       193.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

       194.    At all times material herein, Defendants had a duty to exercise reasonable care

and had the duty of an expert in all aspects of the design, formulation, manufacture,

compounding, testing, inspection, packaging, labeling, distribution, marketing, promotion,

advertising, sale, warning, post-sale warning, testing, and research to assure the safety of the

product when used as intended or in a way that Defendants could reasonably have anticipated,

and to assure that the consuming public, including Plaintiffs and Plaintiffs’ physicians, obtained

accurate information and adequate instructions for the safe use or non-use of Abilify.

       195.    Defendants had a duty to warn Plaintiffs, Plaintiffs’ physicians, and the public

in general of Abilify’s dangers and serious side effects, including serious compulsive

behaviors like pathological gambling addiction, since it was reasonably foreseeable that an

injury could occur because of Abilify’s use.

       196.    At all times material herein, Defendants failed to exercise reasonable care and the

duty of an expert and knew, or in the exercise of reasonable care should have known, that Abilify

was not properly manufactured, designed, compounded, tested, inspected, packaged, labeled,

warned about, distributed, marketed, advertised, formulated, promoted, examined, maintained,

sold, prepared, or a combination of these acts.

       197.    Each of the following acts and omissions herein alleged was negligently and

carelessly performed by Defendants, resulting in a breach of the duties set forth above. These

acts and omissions include, but are not restricted to:

                   a.      Negligent and careless research and testing of Abilify;
                   b.      Negligent and careless design or formulation of Abilify;

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                    c.    Negligent and careless failure to give adequate warnings that would
                          attract the attention of Plaintiffs, Plaintiffs’ physicians, and the public
                          in general of the potentially dangerous, defective, unsafe, and
                          deleterious propensity of Abilify and of the risks associated with its
                          use;
                    d.    Negligent and careless failure to provide instructions on ways to
                          safely use Abilify to avoid injury;
                    e.    Negligent and careless failure to explain the mechanism, mode, and
                          types of adverse events associated with Abilify;
                    f.    Negligent representations that Abilify was safe or well-tolerated; and
                    g.    Negligent and careless failure to issue adequate post-sale warnings
                          that Abilify causes an increased risk of compulsive behaviors,
                           including pathological gambling.
        198.    Despite the fact that Defendants knew or should have known that Abilify caused

unreasonable and dangerous side effects, and that consumers such as Plaintiffs would thereby

foreseeable suffer harm, Defendants continued to market Abilify while willfully and deliberately

failing to exercise due care in the provision of adequate warnings of Abilify’s dangerous

propensities.

        199.    As a direct and proximate result of Defendants’ negligence, Plaintiffs suffered

bodily injury and resulting pain and suffering, disability, mental anguish, loss of capacity for the

enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of

earnings, loss of ability to earn money and other economic losses, and aggravation of previously

existing conditions. The losses are either permanent or continuing, and Plaintiffs will suffer the

losses in the future.

    AS AND FOR A FIFTH CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION


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           200.   Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

           201.   Defendants owed a duty in all of their several undertakings, including in the

communication and dissemination of information concerning Abilify, to exercise reasonable care

to ensure that they did not create unreasonable risks of personal injury to others.

           202.   Defendants misrepresented to consumers and physicians, including Plaintiffs and

Plaintiffs’ physicians and the public in general, that Abilify was safe or well-tolerated when used

as instructed, and that Abilify was safe or well-tolerated, when, in fact, Abilify was dangerous to

the well-being of patients.

           203.   At the time Defendants promoted Abilify as safe or well-tolerated, they did not

have adequate proof upon which to base such representations, and, in fact, knew or should have

known that Abilify was dangerous to the well-being of Plaintiffs and others.

           204.   Defendants failed to exercise reasonable care and competence in obtaining or

communicating information regarding the safe use of Abilify and otherwise failed to exercise

reasonable care in transmitting information to Plaintiffs, Plaintiffs’ physicians, and the public in

general.

           205.   Defendants made the aforesaid representations in the course of Defendants’

business as designers, manufacturers, and distributors of Abilify despite having no reasonable

basis for their assertion that these representations were true or without having accurate or

sufficient information concerning the aforesaid representations. Defendants were aware that

without such information they could not accurately make the aforesaid representations.

           206.   At the time the aforesaid representations were made, Defendants intended to

induce Plaintiffs or Plaintiffs’ physicians to rely upon such representations.


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         207.    At the time the aforesaid representations were made by Defendants, and at the

time Plaintiffs received Abilify, Plaintiffs or Plaintiffs’ physicians, and the public in general,

reasonably believed them to be true. In reasonable and justified reliance upon said

representations, Plaintiffs used Abilify.

         208.    As a direct and proximate result of reliance upon Defendants’ misrepresentations,

Plaintiffs suffered bodily injury and resulting pain and suffering, disability, mental anguish, loss

of capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and

treatment, loss of earnings, loss of ability to earn money and other economic losses, and

aggravation of previously existing conditions. The losses are either permanent or continuing, and

Plaintiffs will suffer the losses in the future.

 AS AND FOR A SIXTH CAUSE OF ACTION: NEGLIGENCE PER SE – VIOLATIONS

                OF 21 U.S.C. §§ 331, 352 AND 21 C.F.R. §§ 201.56, 201.57, 202.1

         209.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

         210.    At all times herein mentioned, Defendants had an obligation to abide by the law,

including the Federal Food, Drug and Cosmetic Act and its applicable regulations, in the

manufacture, design, formulation, compounding, testing, production, processing, assembling,

inspection, research, promotion, advertising, distribution, marketing, labeling, packaging,

preparation for use, consulting, sale, warning, post-sale warning, and other communications of the

risks and dangers of Abilify.

         211.    By reason of their conduct as alleged herein, Defendants violated provisions of

statutes and regulations including, but not limited to, the following:




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                   a.      Defendants violated the Federal Food, Drug, and Cosmetic Act, 21

                           U.S.C. §§ 331 and 352, by misbranding Abilify;

                   b.      Defendants failed to follow the “[g]eneral requirements on content and

                           format of labeling for human prescription drugs” in violation of 21

                           C.F.R. § 201.56;

                   c.      Defendants failed to follow the “[s]pecific requirements on content

                           and format of labeling for human prescription drugs” in violation of 21

                           C.F.R. § 201.57;

                   d.      Defendants advertised and promoted Abilify in violation of 21 C.F.R.

                           § 202.1; and

                   e.      Defendants violated 21 C.F.R. § 201.57(e) by failing to timely and

                           adequately change the Abilify label to reflect the evidence of an

                           association between Abilify and the serious compulsive behaviors

                           suffered by Plaintiffs.

        212.    These statutes and regulations impose a standard of conduct designed to protect

consumers of prescription drugs, including Plaintiffs.

        213.    Defendants’ violation of these statutes and regulations constitutes negligence per

se.

        214.    As a direct and proximate result of Defendants’ statutory and regulatory

violations, Plaintiffs, members of the class of persons intended to be protected by the above-

mentioned statutes, suffered bodily injury and resulting pain and suffering, disability, mental

anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical and

nursing care and treatment, loss of earnings, loss of ability to earn money and other economic


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losses, and aggravation of previously-existing conditions. The losses are either permanent or

ongoing, and Plaintiffs will suffer such losses in the future.

     AS AND FOR A SEVENTH CAUSE OF ACTION: VIOLATION OF CONSUMER

                                      PROTECTION LAWS

        215.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

        216.    By reason of the conduct as alleged herein, and by inducing Plaintiffs and

Plaintiffs’ physicians to use Abilify through the use of deception, fraud, false advertising, false

pretenses, misrepresentations, unfair or deceptive practices, or a combination of these acts, and

the concealment and suppression of material facts including, but not limited to, fraudulent

statements, concealments, and misrepresentations identified herein and above, Defendants

violated state consumer protection statutes.

        217.    As a direct and proximate result of Defendants’ statutory violations, Plaintiffs

were damaged by Abilify, which would not have occurred had Defendants not used deception,

fraud, false advertising, false pretenses, misrepresentations, unfair or deceptive practices, or a

combination of these acts, and the concealment and suppression of material facts to induce

Plaintiffs and Plaintiffs’ physicians to use this product.

        218.    By reason of such violations, Plaintiffs suffered bodily injury and resulting pain

and suffering, disability, mental anguish, loss of capacity for the enjoyment of life, expense of

hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

money and other economic losses, and aggravation of previously-existing conditions. The losses

are either permanent or ongoing, and Plaintiffs will suffer such losses in the future.

    AS AND FOR AN EIGHTH CAUSE OF ACTION: FRAUDULENT CONCEALMENT


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        219.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

        220.    At all material relevant times mentioned herein, Defendants had the duty and

obligation to disclose to Plaintiffs and Plaintiff’s physicians the true facts concerning Abilify; that

is, that Abilify is dangerous and defective, and likely to cause serious health consequences to

users, such as those alleged herein, without providing a significant benefit.

        221.    Throughout the relevant time period, Defendants knew that Abilify was defective

and unreasonably unsafe for its intended purpose.

        222.    Defendants fraudulently concealed from or failed to disclose or to warn Plaintiffs,

Plaintiffs’ physicians, and the medical community that Abilify was defective, unsafe, unfit for the

purposes intended, and was not of merchantable quality.

        223.    Defendants were under a duty to Plaintiffs to disclose and warn of the defective

nature of Abilify because:

                    a.       Defendants were in a superior position to know the true quality, safety

                             and efficacy of Abilify;

                    b.       Defendants knowingly made false claims about the safety and quality

                             of Abilify in the documents and marketing materials Defendants

                             provided to the FDA, physicians, and the general public; and

                    c.       Defendants fraudulently and affirmatively concealed the defective

                             nature of Abilify from Plaintiffs.

        224.    Defendants were under a duty to Plaintiffs to disclose and warn of the defective

nature of Abilify because the facts concealed or not disclosed by Defendants to Plaintiffs were




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material facts that a reasonable person would have considered to be important in deciding whether

or not to purchase or use the product.

        225.    Defendants intentionally, willfully, and maliciously concealed or failed to

disclose the true defective nature of Abilify so that Plaintiffs would request and purchase Abilify,

and that their healthcare providers would dispense, prescribe, and recommend Abilify, and

Plaintiffs justifiably acted or relied upon, to Plaintiffs’ detriment, the concealed or non-disclosed

facts as evidenced by his purchase and use of Abilify.

        226.    At all material relevant times mentioned herein, Plaintiffs and their physicians

were unaware of the concealed facts set forth herein. Had they been aware of those facts, they

would not have acted as they did; that is, they would not have prescribed and/or taken Abilify,

and Plaintiffs would therefore not have been injured.

        227.    Defendants, by concealment or other action, intentionally prevented Plaintiffs and

Plaintiffs’ physicians from acquiring material information regarding the lack of safety and

effectiveness of Abilify, and are subject to the same liability to Plaintiffs for Plaintiffs’ pecuniary

losses, as though Defendants had stated the non-existence of such material information regarding

Abilify’s lack of safety and effectiveness and dangers and defects, and as though Defendants had

affirmatively stated the non-existence of such matters that Plaintiffs were thus prevented from

discovering the truth. Defendants therefore have liability for fraudulent concealment under all

applicable law, including, inter alia, Restatement (Second) of Torts § 550 (1977).

        228.    As a result of Defendants’ foregoing acts and omissions, Plaintiffs were and still

are caused to suffer and are at a greater increased risk of serious and dangerous side effects

including compulsive gambling, and other severe and personal injuries, physical pain and mental

anguish, diminished enjoyment of life, any and all life complications.


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         229.    As a direct and proximate result of the foregoing acts and omissions, Plaintiffs

have required and will require healthcare and services, and have incurred financial loss, medical,

health care, incidental, and related expenses.

         230.    As a direct and proximate result of reliance upon Defendants’ misrepresentations,

Plaintiffs suffered bodily injury and resulting pain and suffering, disability, mental anguish, loss

of capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and

treatment, loss of earnings, loss of ability to earn money and other economic losses, and

aggravation of previously existing conditions. The losses are either permanent or continuing, and

Plaintiffs will suffer the losses in the future.

        AS AND FOR AN NINTH CAUSE OF ACTION: LOSS OF CONSORTIUM

         231.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.

         232.    Plaintiffs’ spouses have incurred financial loss as a result of Defendants’ conduct.

         233.    As a result of Defendants’ conduct, Plaintiffs’ spouses were caused to suffer, and

will continue to suffer in the future, loss of consortium, loss of society, affection, assistance, and

conjugal fellowship, all to the detriment of their martial relationship.

         234.    Defendants have caused significant harm to Plaintiffs and the Class, including

harm to the properties and water supplies of Plaintiffs and the Class and have demonstrated a

conscious and outrageous disregard for their safety with implied malice, warranting the

imposition of punitive damages.

          AS AND FOR AN TENTH CAUSE OF ACTION: PUNITIVE DAMAGES

         235.    Plaintiffs hereby repeat, reallege, and reiterate each and every allegation in the

preceding paragraphs as if fully restated herein.


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        236.    Plaintiffs are entitled to an award of punitive and exemplary damages based upon

Defendants’ intentional, willful, knowing, fraudulent, and malicious acts, omissions, and conduct,

as well as Defendants’ reckless disregard for Plaintiffs’ and the public’s safety and welfare.

Defendants intentionally and fraudulently misrepresented facts and information to both the

medical community and the general public, including Plaintiffs, by making intentionally false and

fraudulent misrepresentations about the safety and efficacy of Abilify. Defendants intentionally

concealed the true facts and information regarding the serious risks of harm associated with the

ingestion of Abilify, and intentionally downplayed the type, nature, and extent of the adverse side

effects of ingesting Abilify, despite Defendants’ knowledge and awareness of the serious side

effects and risks associated with Abilify.

        237.    Defendants had knowledge of and were in possession of evidence demonstrating

that Abilify caused serious side effects including compulsive gambling. Notwithstanding

Defendants’ knowledge of the serious side effects of Abilify, Defendants continued to market the

drug by providing false and misleading information with regard to the product’s safety and

efficacy to the regulatory agencies, the medical community, and consumers of Abilify.

        238.    Although Defendants knew or recklessly disregarded the fact that Abilify causes

debilitating compulsive behavior side effects including compulsive gambling, Defendants

continued to market, promote, and distribute Abilify to consumers, including Plaintiffs, without

disclosing these side effects when there were alternative methods for treating Plaintiffs’

underlying conditions.

        239.    Defendants failed to provide warnings that would have dissuaded physicians from

prescribing Abilify and consumers from purchasing and ingesting Abilify, thus depriving both




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from weighing the true risks against the benefits of prescribing, purchasing, or consuming

Abilify.

           240.   Defendants knew of Abilify’s defective nature as set forth herein, but continued to

design, manufacture, market, distribute, sell, and promote the drug as to maximize sales and

profits at the expense of the health and safety of the public, including Plaintiffs, in a conscious or

negligent disregard of the foreseeable harm caused by Abilify.

           241.   The aforementioned conduct of Defendants was committed with knowing,

conscious, reckless, and deliberate disregard of the rights and safety of consumers such as

Plaintiffs, thereby entitling Plaintiffs to punitive damages in the amount appropriate to punish

Defendants and deter them from similar conduct in the future.

                                       PRAYER FOR RELIEF

           242.   WHEREFORE, the Plaintiffs and the Class demand judgment against Defendants,

and each of them, jointly and severally, and request the following relief from the Court:

              A. Awarding actual Damages to Plaintiff incidental to the purchase and ingestion of

              Abilify in an amount to be determined at trial;

              B. Awarding the costs of treatment for Plaintiff’s injuries caused by Abilify;

              C. Awarding damages for Plaintiff’s neuropsychiatric, mental, physical, and

              economic pain and suffering;

              D. Awarding damages for Plaintiff’s mental and emotional anguish;

              E. Awarding pre-judgment and post-judgment interest to Plaintiff;

              F. Awarding punitive damages;

              G. Awarding the costs and expenses of this litigation to Plaintiff;

              H. Awarding reasonable attorney’s fees and costs to Plaintiff as provided by law; and


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           I. For such further relief as this Court deems necessary, just and proper.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury of any and all issues in this matter so triable pursuant to

Federal Rule of Civil Procedure 38(b).

           Dated:     August 13, 2018

                                             Respectfully Submitted,

                                             NAPOLI SHKOLNIK, LLC

                                             By: /s/ R. Joseph Hrubiec
                                             R. Joseph Hrubiec (#5500)
                                             919 North Market Street, Suite 1801
                                             Wilmington, DE 19801
                                             (302) 330-8025
                                             Rhrubiec@NapoliLaw.com




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